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 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF ILLINOIS

 Case number (if known):                                      Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                               Check if this is an
                                                                        Chapter 13
                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Sharon                                                 Gary
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          Jean                                                   Lawrence
     passport).                        Middle Name                                            Middle Name

                                       Berg                                                   Berg
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   6        6       7    8   xxx – xx –                   9         6        1      1
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)

4.   Any business names                       I have not used any business names or EINs.            I have not used any business names or EINs.
     and Employer
     Identification Numbers                                                                   Berg, Inc
     (EIN) you have used in            Business name                                          Business name
     the last 8 years
                                       Business name                                          Business name
     Include trade names and
     doing business as names
                                       Business name                                          Business name


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Debtor 1     Sharon              Jean                      Berg                               Case number (if known)
             First Name          Middle Name               Last Name

                                     About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

                                                  –                                                           –
                                     EIN                                                          EIN

                                                  –                                                           –
                                     EIN                                                          EIN
5.   Where you live                                                                               If Debtor 2 lives at a different address:

                                     22W215 First Street
                                     Number       Street                                          Number      Street




                                     Glen Ellyn                   IL       60137
                                     City                         State    ZIP Code               City                       State     ZIP Code

                                     Du Page
                                     County                                                       County

                                     If your mailing address is different from                    If Debtor 2's mailing address is different
                                     the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                     court will send any notices to you at this                   will send any notices to you at this mailing
                                     mailing address.                                             address.



                                     Number       Street                                          Number      Street


                                     P.O. Box                                                     P.O. Box


                                     City                         State    ZIP Code               City                       State     ZIP Code


6.   Why you are choosing            Check one:                                                   Check one:
     this district to file for
     bankruptcy                              Over the last 180 days before filing this                   Over the last 180 days before filing this
                                             petition, I have lived in this district longer              petition, I have lived in this district longer
                                             than in any other district.                                 than in any other district.

                                             I have another reason. Explain.                             I have another reason. Explain.
                                             (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the             Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                  Chapter 7

                                            Chapter 11

                                            Chapter 12

                                            Chapter 13




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Debtor 1     Sharon             Jean                 Berg                             Case number (if known)
             First Name         Middle Name          Last Name

8.   How you will pay the fee           I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                        court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                        pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                        behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                        I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                        Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

                                        I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                        By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                        than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                        fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                        Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                 No
     bankruptcy within the
     last 8 years?                      Yes.

                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY
                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY
                                   District                                               When                    Case number
                                                                                                 MM / DD / YYYY

10. Are any bankruptcy                  No
    cases pending or being
    filed by a spouse who is            Yes.
    not filing this case with
                                   Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an              District                                               When                    Case number,
    affiliate?                                                                                   MM / DD / YYYY   if known


                                   Debtor                                                             Relationship to you

                                   District                                               When                    Case number,
                                                                                                 MM / DD / YYYY   if known

11. Do you rent your                    No.    Go to line 12.
    residence?                          Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                             residence?

                                                    No. Go to line 12.
                                                    Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                    and file it with this bankruptcy petition.




Official Form 101                        Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
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Debtor 1     Sharon                  Jean                  Berg                           Case number (if known)
             First Name              Middle Name           Last Name


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor                No. Go to Part 4.
    of any full- or part-time                Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                   Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as                  Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                      City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                   Check the appropriate box to describe your business:
    to this petition.
                                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                          None of the above

13. Are you filing under                If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                   can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and                 most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business            or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                             No.   I am not filing under Chapter 11.

                                             No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                   the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                    Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                  Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                   No
    property that poses or is                Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                        If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or                 Where is the property?
    a building that needs urgent                                              Number   Street
    repairs?



                                                                              City                                     State         ZIP Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
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Debtor 1     Sharon               Jean                   Berg                            Case number (if known)
             First Name           Middle Name            Last Name


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received             I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.



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Debtor 1     Sharon                Jean                   Berg                            Case number (if known)
             First Name            Middle Name            Last Name


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you         16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                     as "incurred by an individual primarily for a personal, family, or household purpose."
                                                    No. Go to line 16b.
                                                    Yes. Go to line 17.

                                      16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                              money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                      16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                               No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after               Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                             No
    are paid that funds will be
                                                        Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                    1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                    50-99                            5,001-10,000                       50,001-100,000
    owe?                                     100-199                          10,001-25,000                      More than 100,000
                                             200-999

19. How much do you                          $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to                  $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                                $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                          $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to             $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                      $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




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Debtor 1     Sharon        Jean                  Berg                              Case number (if known)
             First Name    Middle Name           Last Name


 Part 7:      Sign Below
For you                       I have examined this petition, and I declare under penalty of perjury that the information provided is true
                              and correct.

                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                              or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                              proceed under Chapter 7.

                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                              fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                              I understand making a false statement, concealing property, or obtaining money or property by fraud in
                              connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                              or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                              X /s/ Sharon Jean Berg                                      X /s/ Gary Lawrence Berg
                                  Sharon Jean Berg, Debtor 1                                 Gary Lawrence Berg, Debtor 2

                                  Executed on 09/28/2016                                     Executed on 09/28/2016
                                              MM / DD / YYYY                                             MM / DD / YYYY




Official Form 101                   Voluntary Petition for Individuals Filing for Bankruptcy                                             page 7
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Debtor 1     Sharon             Jean                  Berg                             Case number (if known)
             First Name         Middle Name           Last Name

For your attorney, if you are      I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                 eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                   relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by      the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need       certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                 is incorrect.



                                   X /s/ Charles Wm. Dobra                                               Date 09/28/2016
                                       Signature of Attorney for Debtor                                       MM / DD / YYYY


                                       Charles Wm. Dobra
                                       Printed name
                                       Charles Wm. Dobra, Esq
                                       Firm Name
                                       Charles Wm. Dobra, Ltd.
                                       Number         Street
                                       Suite 100

                                       675 E. Irving Park Rd. #100

                                       Roselle                                                   IL              60172
                                       City                                                      State           ZIP Code


                                       Contact phone (630) 893-2494                    Email address Justice@DobraLawFirm.com


                                       00647039                                                  IL
                                       Bar number                                                State




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 Fill in this information to identify your case and this filing:
 Debtor 1               Sharon                   Jean                     Berg
                        First Name               Middle Name              Last Name

 Debtor 2            Gary                        Lawrence                 Berg
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                                    Check if this is an
 (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
22W215 First Street, Glen Ellyn, IL                      Check all that apply.                               amount of any secured claims on Schedule D:
60137.                                                        Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
 Purchased in July, 2000 for $224,900.                        Condominium or cooperative                     entire property?                portion you own?
Refinanced in 2014                                            Manufactured or mobile home                                $315,000.00                  $315,000.00
for lower interest rate and pay some                          Land
bills; balance was $195,000.00.                               Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.
DuPage
County                                                                                                       100% joint interest
                                                         Who has an interest in the property?
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $315,000.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
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Debtor 1         Sharon                  Jean                   Berg                                 Case number (if known)
                 First Name              Middle Name            Last Name

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                         Ford                     Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Explorer
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2002
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 167,105                                At least one of the debtors and another                $652.00                              $652.00
Other information:
2002 Ford Explorer (approx. 167,105                         Check if this is community property
miles) (Insurance through Geico;                            (see instructions)
policy number: 4212-29-43-77; VIN:
IFMZU73K02ZC72706)
3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                         Saturn                   Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Vue
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                         2002                                                                  entire property?                       portion you own?
                                                            Debtor 1 and Debtor 2 only
Approximate mileage: 134,148                                At least one of the debtors and another                $566.00                              $566.00
Other information:
2002 Saturn Vue (approx. 134,148                            Check if this is community property
miles; insurance thorugh Geico; policy                      (see instructions)
number: 4212-29-43-77;
VIN:5GZCZ63B62S814615)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................              $1,218.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               Misc. household goods, used appliances, furnishings, tv, dvd, etc.                                                     $1,000.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               Cell phones, stereos, tvs, etc.                                                                                          $500.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
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Debtor 1          Sharon                           Jean                             Berg                                             Case number (if known)
                  First Name                       Middle Name                      Last Name

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                One ordinary lot of clothing suitable for two adult persons.                                                                                                                 $350.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                    $1,850.00


  Part 4:           Describe Your Financial Assets
                                                                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                        portion you own?
                                                                                                                                                                                        Do not deduct secured
                                                                                                                                                                                        claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................               $50.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                                                                  page 3
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Debtor 1         Sharon                        Jean                   Berg                         Case number (if known)
                 First Name                    Middle Name            Last Name

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
                                           401(k) or similar plan: 401(k) funds withdrawn and used to buy a pizza
                                                                    business ("Antonio's Pizza") and to pay mortgage,
                                                                    bills, employee salary, rent for business location, food
                                                                    and maintenance for business; no funds left in fund,
                                                                    and no profit generated by pizza business to pay the
                                                                    interest and penilties resulting from early withdrawal.
                                                                    SEE: SOFA.                                                                       $0.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
                          Security deposit on rental unit: Security deposit on rental unit for pizza business; See:
                                                                 Schedlue G.                                                                      $3,400.00
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                      page 4
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Debtor 1        Sharon                       Jean                      Berg                         Case number (if known)
                First Name                   Middle Name               Last Name

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                    Federal:                  $0.00
           about them, including whether
           you already filed the returns                                                                                     State:                    $0.00
           and the tax years.....................................
                                                                                                                             Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                       Alimony:                               $0.00
                                                                                                                Maintenance:                           $0.00

                                                                                                                Support:                               $0.00

                                                                                                                Divorce settlement:                    $0.00
                                                                                                                Property settlement:                   $0.00

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................     Company name:                                 Beneficiary:                      Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim..............

35. Any financial assets you did not already list

           No
           Yes. Give specific information


Official Form 106A/B                                                       Schedule A/B: Property                                                       page 5
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36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $3,450.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
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                  First Name                    Middle Name                Last Name

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.
             Dissolved Illinois Corporation, "Berg, Inc." Dissolved 8/12/16 by order of Illinois Secretary of
             State.                                                                                                                                                        Unknown


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
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Debtor 1           Sharon                        Jean                           Berg                                          Case number (if known)
                   First Name                    Middle Name                    Last Name


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $315,000.00

56. Part 2: Total vehicles, line 5                                                                                    $1,218.00

57. Part 3: Total personal and household items, line 15                                                               $1,850.00

58. Part 4: Total financial assets, line 36                                                                           $3,450.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................               $6,518.00             property total                 +            $6,518.00



63. Total of all property on Schedule A/B.                                                                                                                                                  $321,518.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
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 Fill in this information to identify your case:
 Debtor 1            Sharon               Jean                   Berg
                     First Name           Middle Name            Last Name
 Debtor 2            Gary                 Lawrence               Berg
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $315,000.00                                     735 ILCS 5/12-901
 Purchased in July, 2000 for $224,900.                                            100% of fair market
Refinanced in 2014                                                                value, up to any
for lower interest rate and pay some bills;                                       applicable statutory
balance was $195,000.00.                                                          limit
Line from Schedule A/B:  1.1

Brief description:                                           $652.00                                      735 ILCS 5/12-1001(c)
2002 Ford Explorer (approx. 167105 miles)                                         100% of fair market
2002 Ford Explorer (approx. 167,105                                               value, up to any
miles) (Insurance through Geico; policy                                           applicable statutory
number: 4212-29-43-77; VIN:                                                       limit
IFMZU73K02ZC72706)
Line from Schedule A/B: 3.1


3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
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Debtor 1      Sharon             Jean                  Berg                          Case number (if known)
              First Name         Middle Name           Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $566.00                                    735 ILCS 5/12-1001(c)
2002 Saturn Vue (approx. 134148 miles)                                       100% of fair market
2002 Saturn Vue (approx. 134,148 miles;                                      value, up to any
insurance thorugh Geico; policy number:                                      applicable statutory
4212-29-43-77; VIN:5GZCZ63B62S814615)                                        limit
Line from Schedule A/B: 3.2

Brief description:                                      $1,000.00                                   735 ILCS 5/12-1001(b)
Misc. household goods, used appliances,                                      100% of fair market
furnishings, tv, dvd, etc.                                                   value, up to any
Line from Schedule A/B:    6                                                 applicable statutory
                                                                             limit

Brief description:                                       $500.00                                    735 ILCS 5/12-1001(b)
Cell phones, stereos, tvs, etc.                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $350.00                                    735 ILCS 5/12-1001(a), (e)
One ordinary lot of clothing suitable for                                    100% of fair market
two adult persons.                                                           value, up to any
Line from Schedule A/B:  11                                                  applicable statutory
                                                                             limit

Brief description:                                       $50.00                                     735 ILCS 5/12-1001(b)
USC                                                                          100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    16
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $3,400.00                                   735 ILCS 5/12-1001(b)
Security deposit on rental unit for pizza                                    100% of fair market
business; See: Schedlue G.                                                   value, up to any
Line from Schedule A/B: 22                                                   applicable statutory
                                                                             limit

Brief description:                                      Unknown                     $0.00           735 ILCS 5/12-1001(b)
Dissolved Illinois Corporation, "Berg, Inc."                                 100% of fair market
Dissolved 8/12/16 by order of Illinois                                       value, up to any
Secretary of State.                                                          applicable statutory
Line from Schedule A/B: 53                                                   limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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  Fill in this information to identify your case:
  Debtor 1             Sharon                Jean                   Berg
                       First Name            Middle Name            Last Name

  Debtor 2            Gary                   Lawrence               Berg
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                           $182,884.79             $315,000.00
Central Mortgage Company                         Purchased in July, 2000 for
Creditor's name
801 John Barrow Road, Ste 1                      $216,000.
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                     Contingent
Little Rock              AR      72205               Unliquidated
City                     State   ZIP Code
                                                     Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Mortgage
   to a community debt
Date debt was incurred           2014            Last 4 digits of account number        9     7    1    2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                             $182,884.79

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                            $182,884.79

Official Form 106D                           Schedule D: Creditors Who Have Claims Secured by Property                                        page 1
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 Fill in this information to identify your case:
 Debtor 1           Sharon                 Jean                   Berg
                    First Name             Middle Name            Last Name

 Debtor 2            Gary                  Lawrence               Berg
 (Spouse, if filing) First Name            Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


 Part 1:       List All of Your PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.

2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
     claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
     show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
     more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
     claim, list the other creditors in Part 3.

     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                    Total claim       Priority              Nonpriority
                                                                                                                      amount                amount




Official Form 106E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1
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               First Name               Middle Name           Last Name


  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                            $397.02
AT & T                                                      Last 4 digits of account number         8 5        2     5
Nonpriority Creditor's Name
                                                            When was the debt incurred?           2015
P. O. Box 5014
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Carol Stream                    IL       60197-5014
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Cellular phone services
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                            $937.88
AT & T Mobile                                               Last 4 digits of account number         6     9    9     9
Nonpriority Creditor's Name
                                                            When was the debt incurred?
P. O. Box 6428
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Carol Stream                    IL       60197
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt               Cellular phone services
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2
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               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

   4.3                                                                                                                                   $0.00
AT & T Mobile                                             Last 4 digits of account number       6    9    9    9
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Credence Resource Management, LLC
Number        Street                                      As of the date you file, the claim is: Check all that apply.
17000 Dallas Parkway, Ste 204                                 Contingent
                                                              Unliquidated
                                                              Disputed
Dallas                        TX       75248
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Notice Only
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                                   $0.00
AT & T Uverse                                             Last 4 digits of account number       8    5    2    5
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Credentce Resource Management
Number        Street                                      As of the date you file, the claim is: Check all that apply.
17000 Dallas Parkway, Ste 204                                 Contingent
                                                              Unliquidated
                                                              Disputed
Dallas                        TX       75248
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Notice Only
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                               $4,994.00
Bank of America                                           Last 4 digits of account number       1    3    6    9
Nonpriority Creditor's Name
                                                          When was the debt incurred?
P. O. Box 982235
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
El Paso                       TX       79998-2235
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
     No
     Yes



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Debtor 1       Sharon                 Jean                  Berg                            Case number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

   4.6                                                                                                                                 $116.15
Best Buy                                                  Last 4 digits of account number       1    7    9    1
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Retail Services
Number        Street                                      As of the date you file, the claim is: Check all that apply.
P. O. Box 790441                                              Contingent
                                                              Unliquidated
                                                              Disputed
St. Louis                     MO       63179
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
     No
     Yes

   4.7                                                                                                                                   $50.00
Cardiac Associates SC                                     Last 4 digits of account number      0 0        9    3
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2015
777 Oakmont Lane, Ste 1600
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Westmont                      IL       60559-5577
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Medical services
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                                 $135.00
Cardiac Associates SC                                     Last 4 digits of account number      0 0        9    3
Nonpriority Creditor's Name
                                                          When was the debt incurred?        1/2016
777 Oakmont Lane, Ste 1600
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Westmont                      IL       60559-5577
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Medical services
Is the claim subject to offset?
     No
     Yes



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Debtor 1       Sharon                 Jean                  Berg                            Case number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

   4.9                                                                                                                                   $0.00
Discover                                                  Last 4 digits of account number       0    4    4    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?
P. O. Box 3008
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
New Albany                    OH       43054-3008
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Notice Only
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                             $12,383.27
Discover More Card                                        Last 4 digits of account number      0 4        4    8
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2006
P. O. Box 30421
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Salt Lake City                UT       84130-0421
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
     No
     Yes

  4.11                                                                                                                               $1,525.00
DuPage Medical Group                                      Last 4 digits of account number      6 8        0    1
Nonpriority Creditor's Name
                                                          When was the debt incurred?        3/2016
15921 Collections Center Drive
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Chicago                       IL       60693-0159
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Medical services
Is the claim subject to offset?
     No
     Yes



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Debtor 1       Sharon                 Jean                  Berg                            Case number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.12                                                                                                                                   $0.00
Home Depot Consumer Card                                  Last 4 digits of account number       2    8    7    2
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Citi
Number        Street                                      As of the date you file, the claim is: Check all that apply.
P. O. Box 790345                                              Contingent
                                                              Unliquidated
                                                              Disputed
St. Louis                     MO       63179
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Notice Only
Is the claim subject to offset?
     No
     Yes

  4.13                                                                                                                               $4,179.50
Home Depot Credit Services                                Last 4 digits of account number       2    8    7    2
Nonpriority Creditor's Name
                                                          When was the debt incurred?
P. O. Box 790328
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
St. Louis                     MO       63179
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                             $18,703.45
Ink/Chase                                                 Last 4 digits of account number       9    3    0    1
Nonpriority Creditor's Name
                                                          When was the debt incurred?
P. O. Box 15298
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Wilmington                    DE       19850-5298
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
     No
     Yes



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Debtor 1       Sharon                 Jean                  Berg                            Case number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.15                                                                                                                               $9,446.40
LoanMe, Inc                                               Last 4 digits of account number      1 9        7    3
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2016
1900 S State College Blvd., Ste 300
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Anaheim                       CA       92806
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Personal loan
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                               $1,306.65
Mickey's Linen                                            Last 4 digits of account number      9 2        0    0
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2015
4601 W Addison Street, Ste 700
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Chicago                       IL       60641
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Open account
Is the claim subject to offset?
     No
     Yes

  4.17                                                                                                                                   $0.00
Sears                                                     Last 4 digits of account number       1    1    9    0
Nonpriority Creditor's Name
                                                          When was the debt incurred?
Citi Card
Number        Street                                      As of the date you file, the claim is: Check all that apply.
P. O. Box 6286                                                Contingent
                                                              Unliquidated
                                                              Disputed
Sioux Falls                   SD       57117-6286
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Notice Only
Is the claim subject to offset?
     No
     Yes



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Debtor 1       Sharon                 Jean                  Berg                            Case number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.18                                                                                                                               $1,933.53
Sears Credit Cards                                        Last 4 digits of account number       1    1    9    0
Nonpriority Creditor's Name
                                                          When was the debt incurred?
P. O. Box 6282
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Sioux Falls                   SD       57117-6282
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
     No
     Yes

  4.19                                                                                                                                   $0.00
Sears Credit Cards                                        Last 4 digits of account number       1    1    9    0
Nonpriority Creditor's Name
                                                          When was the debt incurred?
United Recovery Systems
Number        Street                                      As of the date you file, the claim is: Check all that apply.
P. O. Box 722910                                              Contingent
                                                              Unliquidated
                                                              Disputed
Houston                       TX       77272-2910
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Notice Only
Is the claim subject to offset?
     No
     Yes

  4.20                                                                                                                                 $990.98
Target Card Services                                      Last 4 digits of account number       3    7    2    1
Nonpriority Creditor's Name
                                                          When was the debt incurred?
TD Bank USA
Number        Street                                      As of the date you file, the claim is: Check all that apply.
P. O. Box 9500                                                Contingent
                                                              Unliquidated
                                                              Disputed
Minneapolis                   MN       55440
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Store account
Is the claim subject to offset?
     No
     Yes



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Debtor 1       Sharon                 Jean                  Berg                            Case number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.21                                                                                                                                   $0.00
Target Card Services                                      Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
TD Bank USA
Number        Street                                      As of the date you file, the claim is: Check all that apply.
3901 W 53rd Street                                            Contingent
                                                              Unliquidated
                                                              Disputed
Sioux Falls                   SD       57106-4216
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Notice Only
Is the claim subject to offset?
     No
     Yes

  4.22                                                                                                                               $6,800.00
Village Plaza, Inc.                                       Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        2015
1771 Bloomingdale Road
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Glendale Heights              IL       60139
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Landlord
Is the claim subject to offset?
     No
     Yes

  4.23                                                                                                                             $12,387.02
West Suburban Bank                                        Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?        10/13
P. O. Box 1269
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Lombard                       IL       60148
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Credit Card
Is the claim subject to offset?
     No
     Yes



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Debtor 1       Sharon                 Jean                  Berg                            Case number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                  Total claim
previous page.

  4.24                                                                                                                                    $0.00
West Suburban Bank                                        Last 4 digits of account number       0    7    0    0
Nonpriority Creditor's Name
                                                          When was the debt incurred?
giagnorio & Robertelli Ltd.
Number        Street                                      As of the date you file, the claim is: Check all that apply.
130 S Bloomingdale Road                                       Contingent
P. O. Box 726                                                 Unliquidated
                                                              Disputed
Bloomingdale                  IL       60108-0726
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Notice Only
Is the claim subject to offset?
     No
     Yes




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Debtor 1       Sharon                   Jean                    Berg                       Case number (if known)
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                   Total claim

Total claims        6a. Domestic support obligations                                                     6a.                     $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                             6b.                     $0.00

                    6c. Claims for death or personal injury while you were intoxicated                   6c.                     $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.          6d.   +                 $0.00


                    6e. Total.       Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                   Total claim

Total claims        6f.     Student loans                                                                6f.                     $0.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                     6g.                     $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                      6h.                     $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +         $76,285.85


                    6j.     Total.   Add lines 6f through 6i.                                            6j.             $76,285.85




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 Fill in this information to identify your case:
 Debtor 1             Sharon                Jean                   Berg
                      First Name            Middle Name            Last Name

 Debtor 2            Gary                   Lawrence               Berg
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.     Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
       is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
       executory contracts and unexpired leases.

          Person or company with whom you have the contract or lease                   State what the contract or lease is for

 2.1      Village Plaza, Inc.                                                          Lease for operation of pizza business ("Antonio's
          Name                                                                         Pizza").
          1771 Bloomingdale Road
          Number    Street



          Glendale Heights                             IL        60139
          City                                         State     ZIP Code




Official Form 106G                            Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Sharon              Jean                    Berg
                     First Name          Middle Name             Last Name

 Debtor 2            Gary                Lawrence                Berg
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                      page 1
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 Fill in this information to identify your case:
     Debtor 1              Sharon               Jean                   Berg
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Gary                 Lawrence               Berg                                     An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ILLINOIS
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Cashier                                            Fabercator
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Bucky's Mobil Gas Station                          Kier Manufacturing Company

      Occupation may include            Employer's address     602 North Avenue                                   1450 Jeffrey Drive
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               Glendale Heights             IL       60139        Addison                IL      60101
                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        2 weeks                                           1 month

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $1,351.60             $2,946.67
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +            $255.60                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $1,607.20             $2,946.67




Official Form 106I                                            Schedule I: Your Income                                                                page 1
             Case 16-32133                         Doc 1             Filed 10/07/16 Entered 10/07/16 13:29:11                                                 Desc Main
                                                                      Document     Page 34 of 52
Debtor 1 Sharon                               Jean                               Berg                                            Case number (if known)
           First Name                         Middle Name                        Last Name
                                                                                                                    For Debtor 1                 For Debtor 2 or
                                                                                                                                                 non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $1,607.20           $2,946.67
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $278.20                   $529.53
     5b. Mandatory contributions for retirement plans                                                       5b.                $0.00                     $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00                     $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00                     $0.00
     5e. Insurance                                                                                          5e.                $0.00                     $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00                     $0.00
     5g. Union dues                                                                                         5g.                $0.00                     $0.00
     5h. Other deductions.
          Specify:                                                                                          5h. +                $0.00                    $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.               $278.20                   $529.53
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $1,329.00                  $2,417.14
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00              ($8,837.71)
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.

     8b. Interest and dividends                                                                             8b.                  $0.00                    $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                    $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                    $0.00
     8e. Social Security                                                                                    8e.                  $0.00                    $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                    $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                    $0.00
     8h. Other monthly income.
         Specify: See continuation sheet                                                                    8h. +            $800.00                      $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.               $800.00                ($8,837.71)

10. Calculate monthly income. Add line 7 + line 9.                                                          10.           $2,129.00          +      ($6,420.57)      =     ($4,291.57)
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                12.           ($4,291.57)
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                       Combined
                                                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                          page 2
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Debtor 1 Sharon                   Jean               Berg                                   Case number (if known)
          First Name              Middle Name        Last Name



1.   Additional Employers Debtor 1                                                 Debtor 2 or non-filing spouse

     Occupation                                                                    Self-employed
     Employer's name                                                               Berg, Inc.
     Employer's address




                           City                         State    Zip Code          City                              State   Zip Code
     How long employed there?




                                                                                For Debtor 1          For Debtor 2 or
                                                                                                      non-filing spouse
8h. Other Monthly Income (details)
     Rent from Son                                                                        $400.00
     Rent from Son's friend                                                               $400.00

                                                                      Totals:             $800.00              $0.00




Official Form 106I                                   Schedule I: Your Income                                                        page 3
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Debtor 1 Sharon                     Jean                   Berg                      Case number (if known)
          First Name                Middle Name            Last Name

8a. Attached Statement (Debtor 2)
                                                  Berg, Inc.; d/b/a Antonio's Pizza
FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:

     1. Gross Income for 12 Months Prior to Filing:                                     ($8,069.00)
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

     2. Gross Monthly Income:                                                                                        ($1,157.71)
PART C - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:

     3. Net Employee Payroll (Other Than Debtor):                                        $2,900.00
     4. Payroll Taxes:                                                                    $230.00
     5. Unemployment Taxes:                                                               $150.00
     6. Worker's Compensation:                                                               $0.00
     7. Other Taxes:                                                                      $605.00
     8. Inventory Purchases (including raw materials):                                   $2,020.00
     9. Purchase of Feed/Fertilizer/Seed/Spray:                                              $0.00
     10. Rent (other than debtor's principal residence):                                  $700.00
     11. Utilities:                                                                       $900.00
     12. Office Expenses and Supplies:                                                      $50.00
     13. Repairs and Maintenance:                                                            $0.00
     14. Vehicle Expenses:                                                                   $0.00
     15. Travel and Entertainment:                                                           $0.00
     16. Equipment Rental and Leases:                                                        $0.00
     17. Legal/Accounting/Other Professional Fees:                                           $0.00
     18. Insurance:                                                                         $50.00
     19. Employee Benefits (e.g., pension, medical, etc.):                                  $75.00
     20. Payments to be Made Directly by Debtor to Secured Creditors for
          Pre-Petition Business Debts (Specify):                                              None
     21. Other (Specify):                                                                     None
     22. Total Monthly Expenses (Add items 3 - 21)                                                                       $7,680.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:

     23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2):                                                  ($8,837.71)




Official Form 106I                                         Schedule I: Your Income                                          page 4
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Sharon                 Jean                   Berg                                An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Gary                   Lawrence               Berg
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS                                  MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Son
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Son's Friend
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                    $1,870.55
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.                    $148.72
      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1 Sharon                     Jean                   Berg                        Case number (if known)
            First Name              Middle Name            Last Name

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                   $200.00
     6b. Water, sewer, garbage collection                                                           6b.                   $422.87
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $450.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                    $100.00
10. Personal care products and services                                                             10.                    $50.00
11. Medical and dental expenses                                                                     11.                   $150.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                   $400.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                    $50.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                         15a.

     15b.    Health insurance                                                                       15b.

     15c.    Vehicle insurance                                                                      15c.                  $130.00
     15d.    Other insurance. Specify:                                                              15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                             17a.

     17b.    Car payments for Vehicle 2                                                             17b.

     17c.    Other. Specify:                                                                        17c.

     17d.    Other. Specify:                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
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Debtor 1 Sharon                       Jean                  Berg                               Case number (if known)
           First Name                 Middle Name           Last Name

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify:                                                                                          21.    +
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.             $3,972.14
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.             $3,972.14

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.            ($4,291.57)
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –         $3,972.14
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.            ($8,263.71)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form 106J                                         Schedule J: Your Expenses                                               page 3
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 Fill in this information to identify your case:
 Debtor 1                Sharon                        Jean                          Berg
                         First Name                    Middle Name                   Last Name

 Debtor 2            Gary                              Lawrence                      Berg
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                                                           Check if this is an
 (if known)
                                                                                                                                                           amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $315,000.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                           $6,518.00
     1b. Copy line 62, Total personal property, from Schedule A/B.........................................................................................................................................................


                                                                                                                                                                            $321,518.00
     1c. Copy line 63, Total of all property on Schedule A/B....................................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $182,884.79
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +                 $76,285.85
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                    Your total liabilities                         $259,170.64




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                      ($4,291.57)
     Copy your combined monthly income from line 12 of Schedule I.......................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $3,972.14




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         page 1
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Debtor 1      Sharon                Jean                  Berg                             Case number (if known)
              First Name            Middle Name           Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                     $2,870.56


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)                                                                $0.00


     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                        $0.00


     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                              $0.00


     9d. Student loans. (Copy line 6f.)                                                                               $0.00


     9e. Obligations arising out of a separation agreement or divorce that you did not report as                      $0.00
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +                 $0.00


     9g. Total.    Add lines 9a through 9f.                                                                           $0.00




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Sharon              Jean                 Berg
                    First Name          Middle Name          Last Name

 Debtor 2            Gary               Lawrence             Berg
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Sharon Jean Berg                                 X /s/ Gary Lawrence Berg
        Sharon Jean Berg, Debtor 1                            Gary Lawrence Berg, Debtor 2

        Date 09/28/2016                                       Date 09/28/2016
             MM / DD / YYYY                                        MM / DD / YYYY




Official Form 106Dec                        Declaration About an Individual Debtor's Schedules                                         page 1
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 Fill in this information to identify your case:
 Debtor 1           Sharon                  Jean                  Berg
                    First Name              Middle Name           Last Name

 Debtor 2            Gary                   Lawrence              Berg
 (Spouse, if filing) First Name             Middle Name           Last Name


 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS

 Case number
                                                                                                                     Check if this is an
 (if known)
                                                                                                                     amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                            04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
         No
         Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2:       Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

         No
         Yes. Fill in the details.

                                                    Debtor 1                                             Debtor 2

                                                   Sources of income          Gross income           Sources of income             Gross income
                                                   Check all that apply.      (before deductions     Check all that apply.         (before deductions
                                                                              and exclusions                                       and exclusions

From January 1 of the current year until               Wages, commissions,                                 Wages, commissions,
the date you filed for bankruptcy:                     bonuses, tips                                       bonuses, tips
                                                       Operating a business                                Operating a business


For the last calendar year:                            Wages, commissions,          $118,876.00            Wages, commissions,             ($8,069.00)
                                                       bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2015 )
                                  YYYY                 Operating a business                                Operating a business


For the calendar year before that:                     Wages, commissions,                                 Wages, commissions,
                                                       bonuses, tips                                       bonuses, tips
(January 1 to December 31, 2014 )
                                  YYYY                 Operating a business                                Operating a business


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                 First Name              Middle Name          Last Name

5.     Did you receive any other income during this year or the two previous calendar years?
       Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
       unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
       and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
       Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.      Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                    "incurred by an individual primarily for a personal, family, or household purpose."

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                    * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No. Go to line 7.

                       Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                            creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                            Also, do not include payments to an attorney for this bankruptcy case.

                                                              Dates of       Total amount         Amount you          Was this payment for...
                                                              payment        paid                 still owe
Village Plaza, Inc.                                                                                                         Mortgage
Creditor's name                                                                                                             Car
                                                              June, 2016 to September , 2016 (Back rent
1771 Bloomingdale Road                                                                                                      Credit card
Number     Street                                             owed)
                                                                                                                            Loan repayment
                                                                                                                            Suppliers or vendors
Glendale Heights                    IL       60139                                                                          Other Rent for business
City                                State    ZIP Code




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7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
     such as child support and alimony.

           No
           Yes. List all payments to an insider.

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:          Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                 Nature of the case                         Court or agency                               Status of the case
West Suburban Bank v. Sharon               Collection                                 County of DuPage Circuit Court 18th
                                                                                                                                              Pending
Berg                                                                                  Judi
                                                                                      Court Name                                              On appeal

Case number 2016AR0007000                                                             Number     Street                                       Concluded



                                                                                      City                       State   ZIP Code


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes




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  Part 5:        List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:        List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.

  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment        Amount of
Charles Wm. Dobra, Esq.                                Attorney's fees                                          or transfer was     payment
Person Who Was Paid                                                                                             made

675 E Irving Park Road                                                                                             08/16/2016           $855.00
Number      Street

Suite 100

Roselle                       IL       60172
City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                       Description and value of any property transferred        Date payment        Amount of
U. S. Bankruptcy Court                                 Filing fee for Chapter 13 Bankruptcy                     or transfer was     payment
Person Who Was Paid                                                                                             made

                                                                                                                                        $310.00
Number      Street




City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You




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                                                     Description and value of any property transferred          Date payment         Amount of
Springboard Non-profit Consumer Credit For credit counseling and debtor education                               or transfer was      payment
Person Who Was Paid                    courses                                                                  made

                                                                                                                                         $180.00
Number      Street




City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

                                                     Description and value of any property transferred          Date payment         Amount of
CIN                                                  Copies of tax transcripts                                  or transfer was      payment
Person Who Was Paid                                                                                             made

                                                                                                                                          $35.00
Number      Street




City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




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  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                      Last 4 digits of account     Type of account or          Date account         Last balance
                                                      number                       instrument                  was closed,          before closing
                                                                                                               sold, moved,         or transfer
                                                                                                               or transferred
BMO Harris
Name of Financial Institution
                                                      XXXX- 2       2    9   7         Checking               2/10/2015
111 East Kilbourn Avenue                                                               Savings
Number      Street
                                                                                       Money market
Milwaukee, WI 53202                                                                    Brokerage
                                                                                       Other Closed 401(k) plan

City                            State   ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

  Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.




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 Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
   hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
   including statutes or regulations controlling the cleanup of these substances, wastes, or material.
   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
   utilize it or used to own, operate, or utilize it, including disposal sites.

   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
   substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


           No
           Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

           No
           Yes. Fill in the details.

 Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                A member of a limited liability company (LLC) or limited liability partnership (LLP)
                A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.




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 Part 12:     Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Sharon Jean Berg                                X /s/ Gary Lawrence Berg
   Sharon Jean Berg, Debtor 1                            Gary Lawrence Berg, Debtor 2

   Date     09/28/2016                                   Date     09/28/2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                   Attach the Bankruptcy Petition Preparer's Notice,
                                                                                          Declaration, and Signature (Official Form 119).




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                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION (CHICAGO)
  IN RE:   Sharon Jean Berg                                                        CASE NO
           Gary Lawrence Berg
                                                                                  CHAPTER      13

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 9/28/2016                                           Signature    /s/ Sharon Jean Berg
                                                                     Sharon Jean Berg



Date 9/28/2016                                           Signature    /s/ Gary Lawrence Berg
                                                                     Gary Lawrence Berg
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AT & T                              Discover More Card               Sears Credit Cards
P. O. Box 5014                      P. O. Box 30421                  United Recovery Systems
Carol Stream, IL 60197-5014         Salt Lake City, UT 84130-0421    P. O. Box 722910
                                                                     Houston, TX 77272-2910


AT & T Mobile                       DuPage Medical Group           Target Card Services
P. O. Box 6428                      15921 Collections Center Drive TD Bank USA
Carol Stream, IL 60197              Chicago, IL 60693-0159         P. O. Box 9500
                                                                   Minneapolis, MN 55440


AT & T Mobile                   Home Depot Consumer Card             Target Card Services
Credence Resource Management, LLC
                                Citi                                 TD Bank USA
17000 Dallas Parkway, Ste 204   P. O. Box 790345                     3901 W 53rd Street
Dallas, TX 75248                St. Louis, MO 63179                  Sioux Falls, SD 57106-4216


AT & T Uverse                       Home Depot Credit Services       Village Plaza, Inc.
Credentce Resource Management       P. O. Box 790328                 1771 Bloomingdale Road
17000 Dallas Parkway, Ste 204       St. Louis, MO 63179              Glendale Heights, IL 60139
Dallas, TX 75248


Bank of America                     Ink/Chase                        West Suburban Bank
P. O. Box 982235                    P. O. Box 15298                  P. O. Box 1269
El Paso, TX 79998-2235              Wilmington, DE 19850-5298        Lombard, IL 60148



Best Buy                            LoanMe, Inc                     West Suburban Bank
Retail Services                     1900 S State College Blvd., Ste giagnorio
                                                                     300      & Robertelli Ltd.
P. O. Box 790441                    Anaheim, CA 92806               130 S Bloomingdale Road
St. Louis, MO 63179                                                 P. O. Box 726
                                                                    Bloomingdale, IL 60108-0726

Cardiac Associates SC               Mickey's Linen
777 Oakmont Lane, Ste 1600          4601 W Addison Street, Ste 700
Westmont, IL 60559-5577             Chicago, IL 60641



Central Mortgage Company            Sears
801 John Barrow Road, Ste 1         Citi Card
Little Rock, AR 72205               P. O. Box 6286
                                    Sioux Falls, SD 57117-6286


Discover                            Sears Credit Cards
P. O. Box 3008                      P. O. Box 6282
New Albany, OH 43054-3008           Sioux Falls, SD 57117-6282
